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                                                                                                       City of Novato, et al.
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                                                                                                                               UNITED STATES DISTRICT COURT
                                                               790 E. Colorado Blvd., Suite 850




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                                                                                                                            NORTHERN DISTRICT OF CALIFORNIA
                                                                     Pasadena, CA 91101
                                                                      SONOMA, CA 95476




                                                                                                  13
                                                                                                       MARIN COUNTY HOMELESS                       CASE NO.: 4:21-cv-05401-YGR
                                                                                                  14   UNION, a local affiliate of the
                                                                                                       CALIFORNIA HOMELESSNESS                     [Assigned to the Hon. Yvonne Gonzalez
                                                                                                  15   UNION, on behalf of itself and those it     Rogers]
                                                                                                       represents; CAMP COMPASSION, a
                                                                                                  16   Homeless Union-affiliated encampment        JOINT CASE MANAGEMENT
                                                                                                       in Lee Gerner Park; Individual Plaintiffs   STATEMENT PURSUANT TO CIVIL
                                                                                                  17   JASON SARRIS; LEA DEANGELO;                 LOCAL RULE 16-9
                                                                                                       ZACH BOULWARE; CARRIE
                                                                                                  18   HEALON, LISA NICOLE JOHNSON;                CMC Date:        February 28, 2022
                                                                                                       DONALD HOBBS; DEBORAH ANN                   Time:            2:00 pm
                                                                                                  19   MIROMONTES; LISA JOHNSON;                   Ctrm:            1
                                                                                                       CHARLES TALBOT; BETHANY
                                                                                                  20   ALLEN; MICHELANGELO MONTEZ;
                                                                                                       DEBORAH ANN MIRAMONTES;
                                                                                                  21   KALANI WELSCH, and other similarly
                                                                                                       situated homeless persons including
                                                                                                  22   current residents of Camp Compassion
                                                                                                       homeless encampment,
                                                                                                  23
                                                                                                                      Plaintiffs,
                                                                                                  24
                                                                                                         v.
                                                                                                  25
                                                                                                       CITY OF NOVATO; CITY MANAGER
                                                                                                  26   ADAM MCGILL, MAYOR PAT
                                                                                                       EKLUND, MAYOR PRO TEM ERIC
                                                                                                  27   LUCAN, CHIEF OF POLICE
                                                                                                       MATHEW MCCAFFREY, PUBLIC
                                                                                                  28   WORKS DIRECTOR CHRIS BLUNK,
                                                                                                                      Defendants.
                                                                                                                                                   1               Case No. 4:21-cv-05401-YGR
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                                                                                                  1           Pursuant to Civil Local Rule 16-9, Plaintiffs MARIN COUNTY HOMELESS
                                                                                                  2    UNION, a local affiliate of the CALIFORNIA HOMELESSNESS UNION, on behalf
                                                                                                  3    of itself and those it represents; CAMP COMPASSION, a Homeless Union-affiliated
                                                                                                  4    encampment in Lee Gerner Park; Individual Plaintiffs JASON SARRIS; LEA
                                                                                                  5    DEANGELO; ZACH BOULWARE; CARRIE HEALON, LISA NICOLE JOHNSON;
                                                                                                  6    DONALD HOBBS; DEBORAH ANN MIROMONTES; LISA JOHNSON; CHARLES
                                                                                                  7    TALBOT; BETHANY ALLEN; MICHELANGELO MONTEZ; DEBORAH ANN
                                                                                                  8    MIRAMONTES; KALANI WELSCH (together, “Plaintiffs”) and Defendants CITY OF
                                                                                                  9    NOVATO; CITY MANAGER ADAM MCGILL, MAYOR PAT EKLUND, MAYOR
                                                                                                  10   PRO TEM ERIC LUCAN, CHIEF OF POLICE MATHEW MCCAFFREY, PUBLIC
                                                                                                       WORKS DIRECTOR CHRIS BLUNK (together, “City”) submit this Joint Case
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                                                                                                  12   Management Statement.
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                                                                                                  13   I.     JURISDICTION AND SERVICE
                                                                                                  14          The Complaint alleges jurisdiction under 28 U.S.C. § 1331 and 1343. There are
                                                                                                  15   no issues regarding personal jurisdiction or venue. All parties have been served.
                                                                                                  16   II.    FACTS
                                                                                                  17          Lee Gerner Park in the City of Novato runs along the creek to the rear of the
                                                                                                  18   Novato Library. Lee Gerner Park is the site of a homeless encampment.
                                                                                                  19          In June 2021, the City Council of the City of Novato adopted Ordinances 1669
                                                                                                  20   and 1670 (the “Ordinances”), both of which amend the Novato Municipal Code with
                                                                                                  21   respect to camping on public property. Ordinance 1669 added section 14-20.5 to the
                                                                                                  22   Novato Municipal Code to generally prohibit open flames in any public space. It also
                                                                                                  23   added section 7-11 to address particular fire risks associated with homeless
                                                                                                  24   encampments. At issue here, newly added Novato Municipal Code section 7-11.3(a)(5)
                                                                                                  25   prohibits camping in designated wildfire risk areas. Section 7-11.3(a)(1) prohibits
                                                                                                  26   camping at or within 50 feet of facilities that have been designated as critical
                                                                                                  27   infrastructure by the City Council. The City Council declared by resolution that the
                                                                                                  28   following real property and facilities were critical infrastructure:


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                                                                                                  1          1. Government buildings, including City Hall, schools, fire stations,
                                                                                                  2          police stations, jails, court houses, and libraries.
                                                                                                  3          2. Electric, sewer, wastewater and water utility facilities, including
                                                                                                  4          generation stations, transformers and substations.
                                                                                                  5          3. Health facilities, as that term is defined in Health & Safety Code
                                                                                                  6          section 1250
                                                                                                  7          4. Train stations and train tracks
                                                                                                  8          5. Water sources and levees
                                                                                                  9          6. Bridges and roads designated by the City as Citywide evacuation
                                                                                                  10         routes.
                                                                                                             The Ordinance also authorizes the City Council to designate other facilities,
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                                                                                                  12   buildings and areas to be critical infrastructure and includes as examples of such
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                                                                                                  13   additional infrastructure electrical wires, natural gas pipes and water sources among
                                                                                                  14   others which Plaintiffs maintain could conceivably render the entire city off limits to
                                                                                                  15   camping.
                                                                                                  16         Ordinance 1670 introduced additional regulations within the existing Stream
                                                                                                  17   Protection Zone making it unlawful to camp in that Zone, among other restrictions.
                                                                                                  18         The principal factual disputes between the parties relate to the existence of
                                                                                                  19   “adequate temporary shelter” under Martin v. City of Boise, 902 F.3d 1031 (9th Cir.
                                                                                                  20   2018). The City contends that it has ensured adequate temporary shelter by entering into
                                                                                                  21   an MOU with Homeward Bound of Marin County, a non-profit organization that
                                                                                                  22   operate the New Beginnings Center in the City, and the Kerner shelter in the City of
                                                                                                  23   San Rafael. Plaintiffs dispute that the Homeward Bound facilities provide adequate
                                                                                                  24   temporary shelter.
                                                                                                  25         Plaintiffs maintain that because the Ordinances make no provision for
                                                                                                  26   constitutionally compliant, accessible, alternative indoor accommodations as required
                                                                                                  27   under Martin v. Boise, the Ordinance violates the Ninth Circuit decision and are facially
                                                                                                  28   unconstitutional as designed or having the effect of targeting the unhoused, ambiguous,


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                                                                                                  1    vague and overbroad.
                                                                                                  2            Plaintiffs also dispute that the City has provided adequate temporary shelter by
                                                                                                  3    way of its MOU with Homeward Bound. As set forth in detail in numerous declarations
                                                                                                  4    in its various pleadings, conditions at both Kerner Street and the New Beginnings
                                                                                                  5    Center include unsafe and unsanitary facilities and practices, infestations of bedbugs
                                                                                                  6    and, more recently, an outbreak of COVID during which persons who tested positive
                                                                                                  7    were roomed with others who were not COVID positive. Unacceptable conditions also
                                                                                                  8    include abusive staff, dangers posed to and by certain residents by way of Homeward
                                                                                                  9    Bound’s failure to provide mental health services; compulsory payment of fees and
                                                                                                  10   performance of manual labor, including labor performed by elderly residents with
                                                                                                       disabilities; delays of and refusals to provide reasonable accommodations to those with
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                                                                                                  12   disabilities, and unreasonable rules restricting first amendment rights including privacy,
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                                                                                                  13   unjustified and unannounced searches of personal items, violations of freedom of
                                                                                                  14   association and the lack of any meaningful opportunity to contest sanctions or appeal
                                                                                                  15   disciplinary decisions that adversely impact residents who have been made to sign
                                                                                                  16   contracts of adhesion surrendering basic rights.
                                                                                                  17   III.    LEGAL ISSUES
                                                                                                  18           This case presents primarily legal issues. First, the parties dispute whether the
                                                                                                  19   Ordinances are narrowly tailored to only prohibit camping at particular times or in
                                                                                                  20   particular locations. The City contends that the Ordinances are reasonable time, place
                                                                                                  21   and manner restrictions designed to address legitimate safety concerns. Plaintiffs allege
                                                                                                  22   the Ordinances amount to a City-wide ban on camping that violates the Constitution.
                                                                                                  23           Second, the parties dispute the extent of the City’s obligation to ensure adequate
                                                                                                  24   temporary shelter when enforcing camping restrictions. The City contends it may
                                                                                                  25   enforce the Ordinances if it can offer the person against whom the Ordinances would
                                                                                                  26   be enforced adequate temporary shelter. Plaintiffs allege Martin v. City of Boise requires
                                                                                                  27   the City to have sufficient shelter space to accommodate all known homeless persons
                                                                                                  28   within a jurisdiction before the Ordinances can be enforced.


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                                                                                                  1           Third, the parties dispute whether enforcing the Ordinances and dispersing
                                                                                                  2    encampments constitutes a “state created danger” now that COVID-19 vaccines are
                                                                                                  3    widely available. The City contends that, now that Marin County has reached a 90%
                                                                                                  4    vaccination rate, the CDC’s guidance against dispersing encampments is no longer
                                                                                                  5    applicable within Marin County. Plaintiffs allege that the City must comply with the
                                                                                                  6    CDC guidance until it is officially withdrawn or rescinded. Pursuant to the terms of the
                                                                                                  7    stipulated Preliminary Injunction, the parties have agreed that the injunction will remain
                                                                                                  8    in effect until the CDC withdraws, rescinds, or otherwise modifies its Interim Guidance
                                                                                                  9    on People Experiencing Homelessness to remove the recommendation against clearing
                                                                                                  10   encampments, the Parties agree to terms of settlement of this litigation, or the
                                                                                                       Preliminary Injunction is dissolved or modified by this Court. Dkt. No. 54.
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                                                                                                  12          Plaintiffs assert that the current CDC guidelines against breaking up homeless
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                                                                                                  13   encampments remain in effect and unchanged since first promulgated in March, 2020.
                                                                                                  14   IV.    MOTIONS
                                                                                                  15          Prior Motions: Plaintiffs moved for a temporary restraining order and order to
                                                                                                  16   show cause re: preliminary injunction on July 15, 2021. Dkt. No. 3. The Court granted
                                                                                                  17   the temporary restraining order on July 15, 2021. Dkt. No. 8. The parties stipulated to
                                                                                                  18   the terms of a preliminary injunction on October 15, 2021, and the Court signed the
                                                                                                  19   stipulated preliminary injunction order on October 18, 2021. Dkt. No. 54.
                                                                                                  20          Pending Motions: None.
                                                                                                  21          Anticipated Motions: Plaintiffs and the City each anticipate the possibility of
                                                                                                  22   filing various pretrial motions including motions for summary judgment to resolve
                                                                                                  23   some or all of the legal issues present in this case.
                                                                                                  24   V.     AMENDMENT OF PLEADINGS
                                                                                                  25          Plaintiffs: Plaintiffs anticipate that they will seek leave to amend their pleadings
                                                                                                  26   to address the failure of the City to make expenditures and to seek funding available
                                                                                                  27   from county, state and federal sources to provide durable permanent housing to which
                                                                                                  28   Plaintiffs may already be entitled under federal Housing and Urban Development


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                                                                                                  1    regulations and other local and state mandates. Plaintiffs also anticipate challenges to
                                                                                                  2    other existing ordinances, customs, policies and practices that either by design or effect
                                                                                                  3    disproportionately impact and criminalize homeless persons in the City of Novato.
                                                                                                  4            Defendants: The City does not anticipate any amendment of the pleadings at this
                                                                                                  5    time.
                                                                                                  6    VI.     EVIDENCE PRESERVATION
                                                                                                  7            The parties have reviewed the Guidelines Relating to the Discovery of
                                                                                                  8    Electronically Stored Information. The parties have met and conferred pursuant to Fed.
                                                                                                  9    R. Civ. Proc. 26(f) and discussed reasonable and proportionate steps to preserve
                                                                                                  10   evidence relevant to the issues in this action.
                                                                                                       VII.    DISCLOSURES
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                                                                                                  12           The parties have not made any initial disclosures. The parties will exchange their
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                                                                                                  13   initial disclosures on or before March 14, 2022.
                                                                                                  14   VIII. DISCOVERY
                                                                                                  15           Discovery Taken to Date: None.
                                                                                                  16           Scope of Anticipated Discovery:
                                                                                                  17                 Plaintiffs: Plaintiffs anticipate that they will serve written discovery and
                                                                                                  18   take the depositions of all named Defendants as well as the City’s person or persons
                                                                                                  19   most knowledgeable in systems, facilities, physical locations and other areas identified
                                                                                                  20   by the City as potentially constituting “critical infrastructure” and the depositions of
                                                                                                  21   City officials including, but not limited to members of City Council, department heads
                                                                                                  22   in the areas of community development, law enforcement, city management and
                                                                                                  23   housing.
                                                                                                  24                 Defendants: The City anticipates it will be required to take the depositions
                                                                                                  25   of the 11 named plaintiffs and the persons most knowledgeable from the Marin County
                                                                                                  26   Homeless Union regarding the nature of the union, its members, and issues related to
                                                                                                  27   the allegations made in Plaintiffs’ complaint. Otherwise, discovery is likely to be limited
                                                                                                  28   to basic interrogatories, requests for admissions, and requests for production of


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                                                                                                  1    documents related to the factual allegations of the complaint, as well as expert
                                                                                                  2    discovery, as the issues related to the Ordinances are primarily legal.
                                                                                                  3           Proposed Limitations or Modifications of the Discovery Rules: Neither party
                                                                                                  4    has proposed any limitations or modifications of the discovery rules.
                                                                                                  5           Stipulated E-Discovery Order: The Parties have not discussed a stipulated e-
                                                                                                  6    discovery order.
                                                                                                  7           Proposed Discovery Plan: The Parties have agreed that discovery will proceed
                                                                                                  8    according to the Federal Rules.
                                                                                                  9           Any Identified Discovery Disputes: The Parties have not identified any
                                                                                                  10   discovery disputes.
                                                                                                       IX.    CLASS ACTIONS
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                                                                                                  12          Plaintiffs: Plaintiffs may seek leave to amend to assert a class action and to seek
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                                                                                                  13   class certification. The number of persons who are impacted by the challenged City
                                                                                                  14   wide camping bans is far greater than the relatively small number of persons in the
                                                                                                  15   temporary sanctioned encampment at Lee Gerner Park while, at the same time, the
                                                                                                  16   individual named plaintiffs are qualified to serve as representatives of a putative class
                                                                                                  17   which share the same characteristics arising from a common core of operative facts.
                                                                                                  18   Moreover, insofar as the camping ban would apply to persons from outside the City of
                                                                                                  19   Novato, the challenged ordinances constitute a restriction on travel to and within the
                                                                                                  20   City of Novato that may impact an even broader class of persons.
                                                                                                  21          Defendants: The Complaint does not meet even the very minimal pleading
                                                                                                  22   standard under the Rules to maintain a class action, as it does not contain a statement of
                                                                                                  23   basic facts to indicate that the requirements of Federal Rules of Civil Procedure, Rule
                                                                                                  24   23 have been satisfied. Gillibeau v. City of Richmond, 417 F.2d 426, 432 (9th Cir. 1969).
                                                                                                  25   Plaintiffs’ speculation they may amend their complaint does not allow the Court to issue
                                                                                                  26   an appropriate scheduling order based on the current complaint. It is the Defendants’
                                                                                                  27   position, therefore, that because this lawsuit is not a class action as pled; therefore, there
                                                                                                  28   is no need for class certification procedures.


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                                                                                                  1    X.     RELATED CASES
                                                                                                  2           Plaintiffs: Although it might be a close call, and there has been no consideration
                                                                                                  3    or finding thus far that the two cases are related, Plaintiff Marin County Homeless
                                                                                                  4    Union also represents homeless campers in the case of Sausalito/Marin County
                                                                                                  5    Homeless Union v. City of Sausalito, No. 3:21 cv 01143 EMC. Although two different
                                                                                                  6    cities are the principal defendants in the respective cases, the issues are similar and the
                                                                                                  7    same Magistrate Judge Robert Illman, has been assigned to address day to day issues as
                                                                                                  8    well as attempt informal resolution of the underlying cases, respectively.
                                                                                                  9           Defendants: The City is not aware of any related cases, and disputes that the
                                                                                                  10   facts and circumstances in the Sausalito case mentioned by Plaintiffs above bears any
                                                                                                       relation to this matter.
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                                                                                                  12   XI.    RELIEF
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                                                                                                  13          The Complaint seeks injunctive relief enjoining Defendants from enforcing
                                                                                                  14   Novato Municipal Code section 7-11, 7-12, 14-20.5, 15-20.7, and all other sections of
                                                                                                  15   the Novato Municipal Code that are found to violate Martin v. City of Boise. The
                                                                                                  16   Complaint also seeks attorneys’ fees for Plaintiffs’ counsel.
                                                                                                  17   XII. SETTLEMENT AND ADR
                                                                                                  18          This case has been assigned to Magistrate Judge Robert Illman for settlement
                                                                                                  19   discussions. The parties have met several times with Judge Illman, and successfully
                                                                                                  20   negotiated the stipulated preliminary injunction with Judge Illman’s assistance. Judge
                                                                                                  21   Illman continues to oversee disputes between the parties related to the stipulated
                                                                                                  22   preliminary injunction.
                                                                                                  23   XIII. CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES
                                                                                                  24          The City does not consent to have a magistrate judge conduct all further
                                                                                                  25   proceedings including trial and entry of judgment. Plaintiffs would not necessarily be
                                                                                                  26   averse to Judge Illman serving as trial court judge, should Defendants agree. Whether
                                                                                                  27   or not Judge Illman’s service thus far as the assigned Magistrate Judge is an issue, Judge
                                                                                                  28   Illman has become very familiar with the legal and factual issues in the case and by


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                                                                                                  1    both sides, regarded as very helpful in interpreting and resolving issues relating to this
                                                                                                  2    Court’s preliminary injunction order.
                                                                                                  3    XIV. OTHER REFERENCES
                                                                                                  4            At this time, the Parties do not believe this case is suitable for reference to binding
                                                                                                  5    arbitration, a special master, or the Judicial Panel on Multidistrict Litigation.
                                                                                                  6    XV. NARROWING OF ISSUES
                                                                                                  7            The City intends to file a motion for summary judgment to resolve the legal issues
                                                                                                  8    at the core of this case. This summary judgment motion will either resolve the case in
                                                                                                  9    its entirety or significantly narrow the issues at trial.
                                                                                                  10           Plaintiffs may file a motion for summary judgment or summary adjudication if
                                                                                                       they determine such a motion is appropriate. However, Plaintiffs believe that the
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                                                                                                  12   constitutionality of the challenged ordinances both on their face and as applied involve
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                                                                                                  13   material facts in dispute, many of which have been disclosed in the litigation preceding
                                                                                                  14   the issuance of the preliminary injunction and in disputes, although generally resolved,
                                                                                                  15   that have arisen subsequently.
                                                                                                  16           In conformity with this Court’s standing order, if either party seeks to file a
                                                                                                  17   motion for summary judgment, that party will file a letter to request a pre-filing
                                                                                                  18   conference and state the grounds for the motion within 5 days of the close of all
                                                                                                  19   discovery.
                                                                                                  20           If any issues remain for trial following resolution of the summary judgment
                                                                                                  21   motions, the Parties will meet and confer and agree on stipulated facts to expedite the
                                                                                                  22   presentation of evidence at trial.
                                                                                                  23   XVI. EXPEDITED TRIAL PROCEDURE
                                                                                                  24           The Parties do not believe that expedited trial procedures are appropriate for this
                                                                                                  25   case.
                                                                                                  26   XVII. SCHEDULING
                                                                                                  27           Plaintiffs: Plaintiffs are in agreement with Defendant’s proposed schedule.
                                                                                                  28   However, as Counsel for Defendants is aware, Plaintiffs’ counsel’s wife is recovering


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                                                                                                  1    from a serious injury that required neurosurgery and will require a prolonged recovery
                                                                                                  2    period during which Counsel will need to provide constant care. Thus, the Court should
                                                                                                  3    be aware that circumstances may require modification of the schedule or parts thereof
                                                                                                  4    going forward.
                                                                                                  5           Defendants: The City proposes the following dates:
                                                                                                  6              • Non-Expert Discovery Cutoff: August 24, 2022
                                                                                                  7              • Initial Expert Disclosure: September 7, 2022
                                                                                                  8              • Rebuttal Expert Disclosure: October 7, 2022
                                                                                                  9              • Expert Discovery Cutoff: October 21, 2022
                                                                                                  10             • Hearing of dispositive motions: No later than December 21, 2022
                                                                                                                 • Pretrial Conference and Trial: The City proposes a trial date in March 2023
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                                                                                                  12                 and will be prepared to suggest a pre-trial conference date based on the
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                                                                                                  13                 trial date set and the Court’s calendar.
                                                                                                  14   XVIII.        TRIAL
                                                                                                  15          Plaintiffs: Plaintiffs demand a jury trial and anticipate that number of actual trial
                                                                                                  16   days would be between five and seven days. Plaintiffs believe there will have to be some
                                                                                                  17   discovery conducted until they can determine what facts may be stipulated.
                                                                                                  18          Defendants: The City believes a court trial is most appropriate given the
                                                                                                  19   primarily legal nature of the issues presented. The City anticipates trial will last no
                                                                                                  20   longer than 3 days if Plaintiff will agree to use stipulated facts.
                                                                                                  21   XIX. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR
                                                                                                  22          PERSONS
                                                                                                  23          Plaintiffs: Plaintiffs request that they be allowed to reserve their response
                                                                                                  24   pending further investigation and determination of who and what entities may have an
                                                                                                  25   interest in the case.
                                                                                                  26          Defendants: None
                                                                                                  27   XX. PROFESSIONAL CONDUCT
                                                                                                  28          All attorneys of record have reviewed the Guidelines for Professional Conduct


                                                                                                                                                    10                  Case No. 4:21-cv-05401-YGR
                                                                                                                JOINT CASE MANAGEMENT STATEMENT PURSUANT TO CIVIL LOCAL RULE 16-9
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                                                               1    for the Northern District of California.
                                                               2    XXI. OTHER MATTERS
                                                               3          Plaintiffs: See XVIII above re medical issue impacting Plaintiffs’ counsel.
                                                               4          Defendants: None
                                                               5

                                                               6     DATED: February 18, 2022                  LAW OFFICE OF ANTHONY D.
                                                                                                               PRINCE
                                                               7

                                                               8                                               /s/ Anthony D. Prince
                                                               9
                                                                                                               ANTHONY PRINCE
                                                               10                                              General Counsel,
                                                                                                               California Homeless Union
                                                                                                               Attorney for Plaintiffs
   Co l a n t u o n o , H i g h s m i t h & Wh at l e y, P C




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                                                               13    DATED: February 18, 2022                  COLANTUONO, HIGHSMITH &
                                                                                                               WHATLEY, PC
                                                               14

                                                               15                                              /s/ Carmen A. Brock
                                                               16                                              JEFFREY A. WALTER
                                                                                                               CARMEN A. BROCK
                                                               17                                              LILIANE M. WYCKOFF
                                                                                                               Attorney for Defendants
                                                               18                                              City of Novato, City Manager Adam
                                                                                                               McGill, Mayor Pat Eklund, Mayor Pro
                                                               19                                              Tem Eric Lucan, Chief of Police Mathew
                                                                                                               McCaffrey, Public Works Director Chris
                                                               20                                              Blunk
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                                                                            JOINT CASE MANAGEMENT STATEMENT PURSUANT TO CIVIL LOCAL RULE 16-9
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                                                                                                                        1                                    CERTIFICATE OF SERVICE
                                                                                                                                                    Marin County Homeless Union v. City of Novato, et al.
                                                                                                                        2                              United States District Court, Northern District
                                                                                                                                                              Case No. 4:21-cv-05401-YGR
                                                                                                                        3
                                                                                                                                    I, McCall L. Williams, declare:
                                                                                                                        4
                                                                                                                                  I am employed in the County of Los Angeles, State of California. I am over the age of 18
                                                                                                                        5 and not a party to the within action. My business address is 790 East Colorado Boulevard, Suite
                                                                                                                          850, Pasadena, California 91101. My email address is: MWilliams@chwlaw.us. On February 18,
                                                                                                                        6 2022, I served the document(s) described as JOINT CASE MANAGEMENT STATEMENT
                                                                                                                          PURSUANT TO CIVIL LOCAL RULE 16-9 on the interested parties in this action as follows:
                                                                                                                        7
                                                                                                                                   BY ELECTRONIC TRANSMISSION: I hereby certify that I electronically filed the
                                                                                                                        8           foregoing with the Clerk of the Court for the United States District Court, Northern District
                                                                                                                                    by using the CM/ECF system on February 18, 2022. I certify that all participants in the case
                                                                                                                        9           are registered CM/ECF users and that service will be accomplished by the USDC, Northern
                                                                                                                                    District CM/ECF system.
                                                                                                                        10
                                                                                                                                    I declare that I am employed in the offices of a member of the State Bar of this Court at
                                                                                                                             whose direction the service was made. I declare under penalty of perjury under the laws of the
   Co l a n t u o n o, H i g h s m i t h & Wh a t l e y, P C




                                                                                                                        11
                                                                                                                             United States of America that the above is true and correct.
                                                               790 E. Colorado Blvd ., Suite 850




                                                                                                                        12
                                                                                                                                    Executed on February 18, 2022, at Pasadena, California.
                                                                                                   Pasadena, CA 91101




                                                                                                                        13

                                                                                                                        14                                                 /s/McCall Williams
                                                                                                                                                                                 McCall L. Williams
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